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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

     IN RE:                                 §
                                            §       CASE NO 21-30071-hcm
     THE GATEWAY VENTURES, LLC,             §            Chapter 11
                                            §
                                            §
              Debtor.                       §
                                            §
                                            §
     WESTAR INVESTORS GROUP, LLC,           §
     SUHAIL BAWA and SALEEM                 §
     MAKANI,                                §
                                            §
              Plaintiffs,                   §
                                            §
     v.                                     §      Adversary No. 21-03009-hcm
                                            §
     THE GATEWAY VENTURES, LLC,             §
     PDG PRESTIGE, INC., MICHAEL            §
     DIXSON, SURESH KUMAR, and              §
     BANKIM BHATT,                          §
                                            §
              Defendants.                   §




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            AGREED ORDER GRANTING JOINT AGREED MOTION FOR
            DISMISSAL WITH PREJUDICE REGARDING BANKIM BHATT
                              (RE: DOCKET NO. 97)
            ON THIS DAY came on for consideration the Joint Agreed Motion for Dismissal with

   Prejudice Regarding Bankin Bhatt filed herein by THE GATEWAY VENTURES, LLC, PDG

   PRESTIGE, INC., and MICHAEL DIXSON (collectively, the “Gateway Parties”), and

   BANKIM BHATT (“Bhatt”). Upon the signatures of the respective counsel appearing below,

   signifying the agreement of the Gateway Parties and Bhatt, the Court is of the opinion that the

   following order should be entered.

            IT IS ORDERED, ADJUDGED, AND DECREED THAT:

            1.       The claims and causes of action asserted by each and all of THE GATEWAY

                     VENTURES, LLC, PDG PRESTIGE, INC., and MICHAEL DIXSON against

                     BANKIM BHATT in this adversary proceeding are hereby DISMISSED

                     WITH PREJUDICE.

            2.       The claims and causes of action asserted by BANKIM BHATT against THE

                     GATEWAY VENTURES, LLC, PDG PRESTIGE, INC., and MICHAEL

                     DIXSON in this adversary proceeding are hereby DISMISSED WITH

                     PREJUDICE.

                                        ### END OF ORDER ###


                         {continued on following sheet / signatures below}




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   AGREED AND ENTRY REQUESTED:

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    ATTORNEYS FOR BANKIM BHATT

    * Signature by permission by /s/ Jeff Carruth


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